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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 SUSMAN GODFREY LLP,

                  Plaintiﬀ,

         v.                                     No. 1:25-cv-01107-LLA

 EXECUTIVE OFFICE OF THE
 PRESIDENT, et al.,

                  Defendants.



                                     [PROPOSED] ORDER


        Upon consideration of the motion of Law Firm Partners United Inc. for leave to ﬁle an Amicus

Curiae brief, it is hereby

        ORDERED that the aforementioned Motion is GRANTED; and it is further

        ORDERED that the Amicus Curiae brief attached to the Motion is deemed ﬁled with this Court

upon entry of this Order.



 Entered this ____ day of _______, 2025
                                                   Honorable Loren L. AliKhan
                                                   United States District Judge
